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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY


  IN RE: JOHNSON & JOHNSON                        MDL No. 16-2738 (MAS) (RLS)
  TALCUM POWDER PRODUCTS
  MARKETING, SALES PRACTICES,
  AND PRODUCTS LIABILITY                         THIS DOCUMENT RELATES
  LITIGATION                                     TO ALL CASES



 MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ STEERING
 COMMITTEE’S MOTION TO QUASH OR FOR PROTECTIVE ORDER
      REGARDING SUBPOENA DIRECTED AT PAUL HESS

      Pursuant to Federal Rules of Civil Procedure 45(d) and 26(c), Plaintiffs, by

and through the Plaintiffs’ Steering Committee (“PSC”), submit this Memorandum

of Law in support of their Motion to Quash, or in the alternative, for Protective Order

regarding the subpoena issued by Johnson & Johnson on non-party Paul Hess on

April 23, 2024.

                                 BACKGROUND

      On April 23, 2024, Johnson & Johnson issued a subpoena to non-party Paul

Hess for deposition and for the production of several documents and

communications related to (1) Mr. Hess’s employer Materials Analytical Services,

LLC’s (“MAS”) methodology, processes, standard operating procedures, laboratory

standards, data, documentation, calculations, or results of its polarized light

microscopy (“PLM”) preparations of cosmetic talc for the analysis of the presence



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of chrysotile and its PLM analyses of cosmetic talc for the presence of chrysotile;

and (2) Mr. Hess’s departure from MAS in 2023.1 See Subpoena attached as Exhibit

A. MAS is the testing laboratory of Plaintiffs’ expert, Dr. William Longo. Paul Hess

is a non-party who is unrelated to this action, and while he works for MAS, he has

not been retained as an expert by any party. On Tuesday, May 7, 2024, the PSC

timely objected to Johnson & Johnson’s subpoena. See PSC’s Objection Letter

attached as Exhibit B. Similar attempts to depose Mr. Hess have been made in state

court cases.

                                  ARGUMENT

     A. Legal Standard

        Federal Rule of Civil Procedure 26(b) permits parties to “obtain discovery

regarding any nonprivileged matter that is relevant to any party’s claim or defense

and proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1). A non-party

subpoena authorized by Federal Rule of Civil Procedure 45 “must fall within the

scope of discovery permissible under Rule 26(b).” Gov’t Emps. Ins. Co. v. Trnovski,

2018 WL 5281424, at *2 (D.N.J. Oct. 23, 2018) (citing OMS Invs., Inc. v. Lebanon

Seaboard Corp., 2008 WL 4952445 (D.N.J. Nov. 18, 2008)). If a non-party

subpoena exceeds the bounds of permissible discovery, the court may issue a

protective order, modify the subpoena, or quash the subpoena entirely. See Fed. R.


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    Mr. Hess rejoined MAS as an employee in 2024.

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Civ. P. 26(c) (“The court may, for good cause, issue an order to protect a party or

person from annoyance, embarrassment, oppression, or undue burden or expense.”);

Fed. R. Civ. P. 45(d)(3)(A) (providing four circumstances in which quashing or

modifying a subpoena is required); Fed. R. Civ. P. 45(d)(3)(B) (setting forth two

instances in which quashing or modifying a subpoena is permitted).

      A party has standing to quash a non-party subpoena pursuant to Fed. R. Civ.

P. 45 “when it claims a privilege or privacy interest in the information sought.”

Schmulovich v. 1161 Rt. 9 LLC, 2007 WL 2362598, at *2 (D.N.J. Aug. 15, 2007)

(citing Thomas v. Marina Assocs., 202 F.R.D. 433, 434–435 (E.D. Pa. 2001)). Courts

must quash or modify a subpoena that requires “disclosure of privileged or other

protected matter, if no exception or waiver applies,” or “subjects a person to undue

burden.” Fed. R. Civ. P. 45(d)(3)(A).

      Alternatively, Fed. R. Civ. P. 26 permits the Court, for good cause, to issue a

protective order to prevent “a party or person from annoyance, embarrassment,

oppression, or undue burden or expense.” Fed. R. Civ. P. 26(c). “‘Good cause’ is

established when it is specifically demonstrated that disclosure will cause a clearly

defined and serious injury.” Glenmede Tr. Co. v. Thompson, 56 F.3d 476, 483 (3d

Cir. 1995); see Costantino v. City of Atl. City, 2015 WL 12806490, at *3 (D.N.J.

Nov. 4, 2015) (good cause requirement satisfied where plaintiff demonstrated that

third-party subpoena sought irrelevant documents). A party “ha[s] standing to move



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under Rule 26(c) for a protective order limiting, or altogether disallowing, the third-

party discovery, on the basis that it seeks information beyond the scope of Rule

26(b)(1).” Ramos v. Walmart, Inc., 2023 WL 2327208, at *3 n.3 (D.N.J. Mar. 2,

2023); see also Special Master Order No. 19, Doc. No. 29138 (Feb. 29, 2024) (PSC

has standing to seek protective order regarding non-party subpoena on relevancy

grounds); Staff4Jobs, LLC v. List Logistics, LLC, 2020 WL 13580942, at *3 (D.N.J.

Oct. 19, 2020) (“Even if the moving party has no standing as traditionally considered

under Rule 45, it may nonetheless seek to prevent the discovery pursuant to Rule

26.”); Costantino, 2015 WL 12806490, at *3; Rudelli v. Eli Lilly & Co., 2020 WL

13694732, at *2 (D.N.J. Nov. 13, 2020).

   B. Johnson & Johnson’s Subpoena Seeks Irrelevant Information and
      Exceeds the Scope of Discovery.

      The information and testimony sought from non-party Mr. Hess by Johnson

& Johnson’s subpoena exceeds the scope of discovery. See Gross-Quatrone v.

Mizdol, 2021 WL 9978409, at *2 (D.N.J. Mar. 1, 2021) (“First, the subpoenaing

party must demonstrate that the information sought is relevant to any party’s claim

or defense and proportional to the needs of the case under Rule 26(b)(1).” (citation

omitted)); Trnovski, 2018 WL 5281424, at *2; Ramos, 2023 WL 2327208, at *3 n.3.

      First, discovery sought by the subpoena is neither relevant to the subject

matter of the pending MDL, nor reasonably calculated to lead to the discovery of

admissible evidence. “Generally, courts afford greater protection to non-parties in

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discovery, and non-party subpoenas must meet a higher standard of relevance than

subpoenas directed toward parties.” Staff4Jobs, 2020 WL 13580942, at *3 (citing

Weinstein v. Brisman, 2020 WL 1485960, at *6 (D.N.J. Mar. 26, 2020)). Johnson &

Johnson cannot meet this higher standard. Mr. Hess is a non-party who is unrelated

to this action. He is not an expert for Plaintiffs in this MDL. Rather, Mr. Hess is an

employee of MAS, the commercial laboratory of Plaintiffs’ expert Dr. William

Longo, Founder and CEO. Johnson & Johnson has not demonstrated why the

discovery sought from Mr. Hess is relevant, and a simple look at the subpoena shows

that it is not. For example, the subpoena seeks communications and documents

regarding Mr. Hess’s departure from MAS in 2023. But information surrounding

Mr. Hess’s employment at MAS bears no relevance to this litigation whatsoever.

“While the scope of discovery is broad, it is not unlimited . . . and should not serve

as a fishing expedition.” Hashem v. Hunterdon Cnty., 2017 WL 2215122, at *2

(D.N.J. May 18, 2017).

      Second, even if any of the information sought is relevant, it is not discoverable

if it is not “proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1). The

subpoena vaguely seeks all communications and documents related to MAS’s

methodology, processes, standard operating procedures, laboratory standards, data,

documentation, calculations, or results of its PLM preparations of cosmetic talc for

the analysis of the presence of chrysotile and its PLM analyses of cosmetic talc for



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the presence of chrysotile. These requests—seeking vast amounts of information

related to whole facets of MAS’s operation as a laboratory—are overly broad and

flout the requirement that discovery be proportional to the needs of the case. See

Seven Z Enterprises, Inc. v. Giant Eagle, Inc., 2020 WL 7240365, at *3 (W.D. Pa.

Mar. 6, 2020) (“The sheer scope of the subpoenas speaks to [the document requests’]

disproportionality.”).

       Moreover, to the extent any of the requested information is relevant, it should

instead be sought from Plaintiffs’ retained expert Dr. Longo. See Narcisse v. All

Ways Transportation, LLC, 2023 WL 6545423, at *7 (M.D. La. July 7, 2023)

(granting motion for protective order because information sought from non-party

should have been “directed at the individual experts themselves” and was therefore

outside the scope of discovery); Virginia Dep't of Corr. v. Jordan, 921 F.3d 180, 189

(4th Cir. 2019) (courts should consider whether information is available to the

requesting party from other sources when determining whether a non-party subpoena

is proportional to the needs of the case); In re Novartis & Par Antitrust Litig., 2019

WL 5722055, at *7 (E.D. Pa. Nov. 5, 2019) (same). Johnson & Johnson has given

no reason why the information it seeks regarding MAS’s operations cannot be




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obtained from Dr. Longo himself—the founder and CEO of MAS and Plaintiffs’

expert.2

      Further, Defendants have had full opportunity to examine Dr. Longo and any

and all aspects of his and his lab’s methodology, processes, standard operating

procedures, laboratory standards, data, documentation, calculations, or results of its

polarized light microscopy (“PLM”) preparations of cosmetic talc for the analysis of

the presence of chrysotile and its PLM analyses of cosmetic talc for the presence of

chrysotile. Dr. Longo has served as an expert not only in this MDL but in numerous

state court mesothelioma and ovarian cancer cases over the course of the litigation.

Dr. Longo’s expert opinions in both federal and state court have largely focused on

the same testing of historical samples produced in the MDL litigation by Johnson &

Johnson and Imerys Talc America.         Dr. Longo has been cross-examined by

Defendants either in deposition or trial for more than 33 days, including a two-day

deposition in this MDL. See Testimony List of William Longo, PhD attached as

Exhibit C. This effort to subpoena Mr. Hess is a bald attempt at additional discovery

of Dr. Longo to which Defendants are not entitled.




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  It is no surprise that Rule 26(b)(1)’s proportionality requirement tracks with Rule
26(b)(2)(C)(i)’s requirement that the Court must limit discovery if it determines the
discovery sought “can be obtained from some other source that is more convenient,
less burdensome, or less expensive.”

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   C. Johnson & Johnson’s Subpoena Improperly Seeks Discovery from a
      Non-Testifying Expert.

      Federal Rule of Civil Procedure 26(b)(4)(D) establishes that a party may only

seek discovery from a non-testifying expert “as provided in Rule 35(b)” or “on

showing of exceptional circumstances under which it is impracticable for the party

to obtain facts or opinions on the same subject by other means.” As a scientist who

has not been disclosed to testify in this case, Mr. Hess is afforded protection by Rule

26(b)(4)(D), and Johnson & Johnson cannot “discover facts known or opinions held”

by him absent showing of exceptional circumstances. Such exceptional

circumstances are not present here because Johnson & Johnson can discover the

information it seeks from Dr. Longo. See, e.g., Kaisha v. Lotte Int'l Am. Corp., 2019

WL 13258468, at *3 (D.N.J. Jan. 23, 2019) (denying motion to compel production

of surveys conducted by employees at testifying expert’s employer because

defendant “has not specified any facts or opinions held by [those] employees that it

cannot obtain from [the testifying expert] himself ”); Vopak N. Am. Inc., 2018 WL

10561115, at *1 (C.D. Cal. Sept. 14, 2018) (denying motion to compel the testimony

of testifying expert’s assistant because the moving party could not identify any part

of the expert’s report or opinion that the expert could not explain himself); Lowery

v. Cir. City Stores, Inc., 158 F.3d 742, 765 (4th Cir. 1998), vacated on other grounds,

527 U.S. 1031 (1999) (district court did not abuse discretion by refusing to compel

discovery from non-testifying experts related to methods and data runs used by

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testifying expert because the moving party could obtain that information from the

testifying expert himself).

    D. Johnson & Johnson’s Subpoena is Unduly Burdensome, Oppressive, and
       Harassing.

      The PSC also objects to the subpoena because it is unduly burdensome,

oppressive, and harassing.3 A subpoena is considered unduly burdensome when it

“is unreasonable or oppressive.” DIRECTV, Inc. v. Richards, 2005 WL 1514187, at

*1 (D.N.J. June 27, 2005) (citing Northrop Corp. v. McDonnell Douglas Corp., 751

F.2d 395, 403 (D.C. Cir. 1984)). Courts consider “the following factors in evaluating

the reasonableness of a subpoena: (1) the party’s need for the production; (2) the

nature and importance of the litigation; (3) relevance; (4) the breadth of the request

for the production; (5) the time period covered by the request; (6) the particularity

with which the documents are described; and (7) the burden imposed on the

subpoenaed entity.” Schmulovich, 2007 WL 2362598 at *4.

      Because the discovery sought by the subpoena is neither relevant to this MDL

nor proportional to the needs of the case, Johnson & Johnson cannot show a need

for the production or that the production will advance the litigation. Additionally, it



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  Importantly, the burden imposed by the non-party subpoena is a factor considered
by the court under Fed. R. Civ. P. 26 as well as under Fed. R. Civ. P. 45. See
Costantino, 2015 WL 12806490, at *3 (“Pursuant to Fed. R. Civ. P. 26(b) (2) (C)
(iii), the Court has discretion to sua sponte bar discovery if the burden or expense of
the discovery outweighs its benefit.”).

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is unreasonable for Mr. Hess, a non-party, to exert time, effort, and expense in

locating, reviewing, producing, and testifying to information that would be more

appropriately sought, if at all, from Plaintiffs’ disclosed expert Dr. Longo.

   E. Johnson & Johnson’s Subpoena Implicates Privileged and Protected
      Documents and Communications.

      Finally, the subpoena broadly seeks “[a]ny and all Documents and/or

Communications” between Mr. Hess and Dr. Longo, as well as other employees at

or agents acting on behalf of MAS, related to a variety of topics. Such broad requests

may implicate or reveal Plaintiffs’ attorneys’ work product and/or privileged

communications, and Plaintiffs have a legitimate interest in preventing the

disclosure of that information. Certain communications between Plaintiffs’ counsel

and Dr. Longo are privileged, and that privilege is not waived by disclosure to Mr.

Hess. See Fed. R. Civ. P. 26(b)(4)(C) (acknowledging protection, with certain

exceptions, of “communications between the party’s attorney and any witness

required to provide a report under Rule 26(a)(2)(B), regardless of the form of the

communications”); Advisory Committee Notes to 2010 Amendments to Fed. R. Civ.

P. 26 (“Protected ‘communications’ include those between the party’s attorney and

assistants of the expert witness.”).

      Moreover, disclosure of any attorney work product within Dr. Longo’s

possession to Mr. Hess, an employee at Dr. Longo’s laboratory, does not waive work

product protection. See Westinghouse Elec. Corp. v. Republic of Philippines, 951

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F.2d 1414, 1428 (3d Cir. 1991) (“Because the work-product doctrine serves . . . to

protect an attorney’s work product from falling into the hands of an adversary, a

disclosure to a third party does not necessarily waive the protection of the work-

product doctrine.”).

                                    CONCLUSION

      For the foregoing reasons, the Court should quash Johnson & Johnson’s

subpoena directed at non-party Paul Hess, or in the alternative, issue a protective

order enjoining Mr. Hess’s obligation to comply with the subpoena. Not only does

the   subpoena   risk   revealing    privileged   and   protected   documents    and

communications, but the discovery it seeks is irrelevant, disproportionate to the

needs of this case, unduly burdensome, and improperly sought from a non-testifying

expert.

Dated: May 17, 2024                    Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I hereby certify that on May 17, 2024, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to the CM/ECF participants registered to receive services

in this MDL.

                                              Respectfully submitted,


                                              /s/ P. Leigh O’Dell
                                              P. Leigh O’Dell




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